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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

03 MDL No. 1570 (RCC)
ECF CASE

This document relates to:

Burnett v. Al Baraka Inv. & Dev. Corp., 03-CV-9849
Federal Insurance Co., et al. v. Al Qaida, et al., Case No. 03-CV-6978

MOTION TO VACATE DEFAULT JUDGMENTS

Defendant Samir Salah, by and through counsel, hereby moves this Court pursuant to
Federal Rules of Civil Procedure 55(c) and 60(b), to vacate the defaults and default judgments
entered against him in Burnett, et al. v. Al Baraka Investment & Development Corp., et al., Case
No. 03-CV-9849 (RCC) (“Burnett”) and Federal Insurance Co., et al. v. al Qaida, et al., Case
No. 03-CV-6978 (RCC) (“Federal Insurance”).

Respectfully submitted,

/s/ Nancy Luque

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February 21, 2007 Attorneys for Defendant Samir Salah
